1                                                                       Honorable Christopher M. Alston
                                                                              March 20, 2020; 9:30 a.m.
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6
                      IN THE UNITED STATES BANKRUPTCY COURT FOR THE
7                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE

8    In re:                                             )   Chapter 7
                                                        )   Bankruptcy No. 18-13383
9    JACK CARLTON CRAMER JR.,                           )
                                                        )   DECLARATION OF
10                   Debtor(s).                         )   MAILING
                                                        )
11
              I, Patricia K. Johnson, declare and state as follows:
12
              1.     I am a citizen of the United States, over the age of 21 years, not an interested party
13
     in the above-entitled matter and am competent to be a witness.
14
              2.     On the 14th day of February, 2020, I caused to be mailed by first class mail, postage
15
     prepaid, a copy of the (1) Notice of Trustee’s Motion for Sale of Real Property of the Estate Free
16
     and Clear of Liens and Encumbrances, (2) Trustee’s Motion for Sale of Real Property of the Estate
17
     Free and Clear of Liens and Encumbrances, (3) proposed Order of Sale of Real Property of the
18
     Estate Free and Clear of Liens and Encumbrances and (4) Declaration of Rory C. Livesey in Support
19
     of Trustee’s Motion for Sale of Real Property of the Estate to the following parties at their respective
20
     addresses:
21
                     King County Finance Division
22                   600 King County Administration Building
                     500 Fourth Avenue
23                   Seattle, WA 98104

24                   Financial Pacific Company
                     c/o Corporation Service Company,
25                     Registered Agent
                     300 Deschutes Way S.W., Suite 304
                     Tumwater, WA 98501


                                                                              THE LIVESEY LAW FIRM
                                                                              600 Stewart Street, Suite 1908
     DECLARATION OF MAILING                                                   Seattle, WA 98101
     191211fDec Page 1                                                        (206) 441-0826
      Case 18-13383-CMA            Doc 96     Filed 02/14/20     Ent. 02/14/20 09:46:48        Pg. 1 of 3
1                   Djenita Svinjar
                    Fidelity National Title Group
2                   2533 North 117th Avenue
                    Omaha, NE 68164
3
                    Residential Funding Company LLC
4                   c/o Corporation Service Company
                    300 Deschutes Way S.W., Suite 304
5                   Tumwater, WA 98501

6                   Norman Maas, P.S. Pension Fund
                    c/o Norman Maas, Registered Agent
7                   6555 N.E. 181st Street
                    Kenmore, WA 98028
8
                    Norman Maas, P.S. Pension Fund
9                   c/o Norman Maas, Registered Agent
                    P. O. Box 82366
10                  Kenmore, WA 98028-0366

11                  District Director
                    Internal Revenue Service
12                  Special Procedures Section
                    Jackson Federal Building
13                  915 Second Avenue, M/S 244
                    Seattle, WA 98174
14
                    Internal Revenue Service
15                  P. O. Box 7346
                    Philadelphia, PA 19101-7346
16
                    State of Washington
17                  c/o Office of the Attorney General
                    800 Fifth Avenue, Suite 2000
18                  Seattle, WA 98104

19          3.      On the 14th day of February, 2020, I caused to be mailed by first class mail, postage

20   prepaid, a copy of the Notice of Trustee’s Motion for Sale of Real Property of the Estate Free and

21   Clear of Liens and Encumbrances to the following parties at their respective addresses:

22          Occupant
            15605 - 63rd Avenue N.E.
23          Kenmore, WA 98028

24

25




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      Case 18-13383-CMA          Doc 96     Filed 02/14/20     Ent. 02/14/20 09:46:48       Pg. 2 of 3
1         I declare under penalty of perjury that the foregoing is true and correct.

2         DATED this 14th day of February, 2020.

3

4                                                       /S/ Patricia K. Johnson

5                                               Patricia K. Johnson
                                                Legal Assistant to Rory C. Livesey,
6                                               Attorney for Edmund J. Wood, Trustee

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                                                                         THE LIVESEY LAW FIRM
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